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                   IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII

   HUNTER KILLER                  )             Civil No. 19-00168 LEK-KJM
   PRODUCTIONS, INC., et al.,     )
                                  )             FINDINGS AND
                  Plaintiffs,     )             RECOMMENDATION TO GRANT IN
                                  )             PART AND DENY IN PART
        vs.                       )             PLAINTIFFS’ MOTION FOR
                                  )             DEFAULT JUDGMENT AGAINST
   QAZI MUHAMMAD ZARLISH, et )                  DEFENDANT NGHI PHAN NHAT
   al.,                           )
                                  )
                  Defendants.     )
   _______________________________)


             FINDINGS AND RECOMMENDATION TO GRANT
         IN PART AND DENY IN PART PLAINTIFFS’ MOTION FOR
      DEFAULT JUDGMENT AGAINST DEFENDANT NGHI PHAN NHAT

        On September 6, 2019, Plaintiffs Hunter Killer Productions, Inc., TBV

  Productions, LLC., Venice PI, LLC., Bodyguard Productions, Inc., and LHF

  Productions, Inc. (collectively, “Plaintiffs”) filed a Motion for Default Judgment

  Against Defendant Nghi Phan Nhat (“Motion”). ECF No. 37. Defendant Nghi

  Phan Nhat (“Defendant Nhat”) did not file a response to the Motion.

        After carefully considering the Motion and the mandate of the remand from

  the district court on April 29, 2020, the Court FINDS AND RECOMMENDS that

  the district court GRANT IN PART AND DENY IN PART the Motion as set forth

  below.
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                                    BACKGROUND

        Since much of the factual and procedural history of this case has been set

  forth in the Findings and Recommendation to Deny Plaintiffs Motion (“11/07/2019

  F&R”), the Court shall briefly summarize the procedural history. Plaintiffs filed

  their Complaint on April 3, 2019 against various Defendants, including Defendant

  Nhat, alleging, among other things, various copyright violations. ECF No. 1.

  Plaintiffs are copyright owners of the following motion pictures which are the

  subject of this litigation: (1) Hunter Killer; (2) London Has Fallen; (3) I Feel

  Pretty; (4) Once Upon a Time in Venice; (5) The Hitman’s Bodyguard

  (collectively, “Works”). Plaintiffs allege Defendants used their websites to

  promote ShowBox, a software application, to the public as a legitimate means to

  view Plaintiffs’ Works for free. ECF No. 1 at 2 ¶ 1, 3, 5. See also id. at 6 ¶ 17.

        On July 9, 2019, the Clerk of the Court entered default against Defendant

  Nhat. Thereafter, on September 6, 2019, Plaintiffs filed the Motion. The Court

  held a hearing on the Motion on November 6, 2019. ECF No. 44. Kerry S.

  Culpepper, Esq., appeared on behalf of Plaintiffs. Defendant Nhat did not appear

  at the hearing. See id. On November 7, 2019, this Court issued its 11/07/2019

  F&R. ECF No. 46. Plaintiffs filed their objections to the 11/07/2019 F&R on

  November 20, 2019. ECF No. 48. On April 29, 2020, the district court issued its

  Order: Granting Plaintiffs’ Objections; Rejecting the Magistrate Judge’s Findings


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  and Recommendation to Deny Plaintiffs’ Motion for Default Judgment Against

  Defendant Nghi Phan Nhat; and Remanding the Motion to the Magistrate Judge

  (“04/29/2020 Order”). ECF No. 53. The district court found that Plaintiffs have

  satisfied personal jurisdiction and remanded the Motion to this Court for further

  consideration. See id. at 20.

                                     DISCUSSION

        Since the district court has determined that Plaintiffs’ have established

  personal jurisdiction over Defendant Nhat, this Court will next consider whether

  default judgment is appropriate.

  I.    Legal Standard

        Default judgment may be entered for the plaintiff if the defendant has

  defaulted by failing to appear or otherwise defend against the plaintiff’s complaint

  and the plaintiff’s claim is for a “sum certain or for a sum which can by

  computation be made certain[.]” Fed. R. Civ. P. 55(a), (b). The granting or denial

  of a motion for default judgment is within the discretion of the court. Haw.

  Carpenters’ Trust Funds v. Stone, 794 F.2d 508, 511-12 (9th Cir. 1986). Entry of

  default does not entitle the non-defaulting party to a default judgment as a matter

  of right. In re Villegas, 132 B.R. 742, 746 (B.A.P. 9th Cir. 1991). Default

  judgments are ordinarily disfavored, and cases should be decided on their merits if

  reasonably possible. Eitel v. McCool, 782 F.2d 1470, 1472 (9th Cir. 1986). Courts


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  may consider the following factors in deciding whether to grant a motion for

  default judgment (collectively, “Eitel factors”):

        (1) The possibility of prejudice to the plaintiff, (2) the merits of the
        plaintiff’s substantive claim, (3) the sufficiency of the complaint, (4)
        the sum of money at stake in the action[,] (5) the possibility of a
        dispute concerning material facts[,] (6) whether the default was due to
        excusable neglect, and (7) the strong policy underlying the Federal
        Rules of Civil Procedure favoring decisions on the merits.

  Id. at 1471-72 (citation omitted).

        On default “the factual allegations of the complaint, except those relating to

  the amount of damages, will be taken as true.” TeleVideo Sys., v. Inc. v.

  Heidenthal, 826 F.2d 915, 17 (9th Cir. 1987) (quoting Geddes v. United Fin.

  Group, 559 F.2d 557, 560 (9th Cir. 1977)). The allegations in the complaint

  regarding liability are deemed true, but the plaintiff must establish the relief to

  which it is entitled. Fair Hous. of Marin v. Combs, 285 F.3d 899, 906 (9th Cir.

  2002). Also, “necessary facts not contained in the pleadings, and the claims which

  are legally insufficient are not established by default.” Cripps v. Life Ins. Co. of N.

  Am., 980 F.2d 1261, 1267 (9th Cir. 1992) (citing Danning v. Lavine, 572 F.2d

  1386, 1388 (9th Cir. 1978)).

  II.   Application of the Eitel Factors

        A.     Possibility of Prejudice to Plaintiffs

        The first factor considers whether Plaintiffs would suffer prejudice if default

  judgment is not entered. See PepsiCo, Inc. v. Cal. Sec. Cans, 238 F. Supp. 2d
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  1172, 1177 (C.D. Cal. 2002). Plaintiffs do not have any other recourse than default

  judgment to obtain relief. Accordingly, the first Eitel factor favors default

  judgment.

        B.     Merits of Plaintiffs’ Substantive Claims

        Under the second Eitel factor, the Court considers the merits of Plaintiffs’

  substantive claims. The allegations in the complaint are taken as true for purposes

  of determining liability. See TeleVideo Sys., Inc. at 917-18; Fair Hous. of Marin,

  285 F.3d at 906. Taking Plaintiffs’ allegations in the Complaint as true, the Court

  finds that Plaintiffs have established that they are entitled to default judgment

  against Defendant Nhat.

        Plaintiffs allege intentional inducement and contributory copyright

  infringement by Defendant Nhat. Plaintiffs have made a showing for contributory

  copyright infringement. The Ninth Circuit has recognized that “[o]ne who, with

  knowledge of the infringing activity, induces, causes or materially contributes to

  the infringing conduct of another may be liable as a ‘contributory’ [copyright]

  infringer.” Ellison v. Robertson, 357 F.3d 1072, 1076 (9th Cir. 2004) (quotation

  marks and citation omitted) (emphasis and brackets in original). The Ninth Circuit

  has “interpreted the knowledge requirement for contributory copyright

  infringement to include both those with actual knowledge and those who have

  reason to know of direct infringement.” Id. (citation omitted).


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        Plaintiffs’ Complaint alleges that Defendant Nhat used his interactive

  website, apkmirrordownload.com, to promote piracy software applications Show

  Box and Popcorn Time as legitimate applications to download copyrighted content

  for free. ECF No. 1 at 31 ¶ 121, 32 ¶¶ 124-25. Plaintiffs own the copyrights for

  the content that Defendant Nhat has induced consumers to download. Plaintiffs

  allege that Defendant Nhat caused or materially contributed to the direct

  infringement of Plaintiffs’ copyrights by inducing and facilitating users to

  download Plaintiffs’ copyrighted works. See ECF No. 1 at ¶¶ 187-193. Plaintiffs

  sufficiently state a claim for contributory copyright infringement. See Ellison, 357

  F.3d at 1076. Accordingly, the merits of Plaintiffs’ claims weigh in favor of

  default judgment.

        C.     Sufficiency of the Complaint

        As discussed above, the Court finds that the allegations in the Complaint are

  sufficiently plead. Accordingly, the sufficiency of the Complaint weigh in favor of

  default judgment.

        D.     Sum of Money at Stake

        For the fourth Eitel factor, the Court “must consider the amount of money at

  stake in relation to the seriousness of Defendant’s conduct.” PepsiCo, Inc., 238 F.

  Supp. 2d at 1176 (citing Eitel, 782 F.2d at 1472). Under the Copyright Act, a

  plaintiff may elect to seek actual damages attributable to the infringement or


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  statutory damages of “not less than $750 or more than $30,000.” 17 U.S.C. §

  504(b), (c). Plaintiffs seek $30,000 for each copyrighted work for a total of

  $150,000 statutory damages for the five copyrighted works, as well as $12,226.14 1

  for attorneys’ fees and $2,639.08 in costs. See ECF No. 37 at 23, 32. Defendant

  Nhat’s software application distributes Plaintiffs’ Works infringing on Plaintiffs’

  copyrights. ECF No. 1 at ¶¶ 187-193. Furthermore, Plaintiffs contend that

  Defendant Nhat makes $927/month in ads on his website. ECF No. 37-2 at 5 ¶ 9.

  While this conduct is serious, Plaintiffs fail to provide sufficient evidence to assess

  this fourth factor. For example, Plaintiffs do not show that the monthly ad profits

  are fully attributed to the downloading of Plaintiffs’ Works, and further, Plaintiffs

  do not provide any evidence as to the amount of their loss. Based on the

  information provided, the Court determines that this factor weighs neither in favor

  of nor against default judgment.

          E.    Possibility of Dispute Concerning Material Facts

          The fifth factor, the possibility of dispute concerning material factors,

  weighs in favor of default judgment. As noted above, the Court takes the well-pled

  allegations of the Complaint as true, except those relating to the amount of

  damages. TeleVideo Sys., Inc., 826 F.2d at 917-18. Despite given a fair

  opportunity to defend against Plaintiffs claims, Defendant Nhat has not done so.


  1
      This amount includes $518.64 requested for GET taxes.
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  Although Plaintiffs served Defendant Nhat by mail with the Complaint, Defendant

  Nhat has failed to make an appearance in this action or otherwise respond to the

  Plaintiffs’ claims. ECF No. 37-2 at 2 ¶ 3. Because no dispute has been raised

  regarding Plaintiffs’ material factual allegations, this factor favors default

  judgment.

        F.     Whether Default was Due to Excusable Neglect

        Regarding the sixth factor, the Court finds that Defendant Nhat’s default was

  not the result of excusable neglect. Defendant Nhat failed to defend this action,

  and the Clerk of Court entered default against him. ECF No. 29. The record

  indicates that Defendant Nhat’s default was not the result of excusable neglect, but

  rather due to Defendant Nhat’s conscious and willful decision not to defend this

  action. In fact, Plaintiffs provide evidence that Defendant Nhat knew of the

  pending lawsuit and chose not to defend against it. ECF No. 37-5, 37-10, 37-11.

  Consequently, this factor weighs in favor of default judgment.

        G.     Policy Favoring Decisions on the Merits

        Defendant Nhat’s default makes a decision on the merits impractical, if not

  impossible. Under Federal Rule of Civil Procedure 55, “termination of a case

  before hearing the merits is allowed whenever a defendant fails to defend and

  action.” PepsiCo, Inc., 238 F. Supp. 2d at 1177; see also Philip Morris USA, Inc.

  v. Castworld Prods., Inc., 219 F.R.D. 494, 501 (C.D. Cal. 2003) (“the mere


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  existence of Fed. R. Civ. P. 55(b) indicates that the seventh Eitel factor is not alone

  dispositive.”). Here, Defendant Nhat has failed to defend this action, and has thus

  rendered adjudication on the merits before this Court impracticable. Although the

  policy favoring decisions on the merits generally weighs against default judgment,

  this factor alone does not preclude the Court from entering default judgment.

  Therefore, this factor does not preclude the Court from entering default judgment

  against Defendant Nhat.

        H.     Totality of the Eitel Factors

        The Court finds that the totality of the Eitel factors weighs in favor of

  entering default judgment in favor of Plaintiffs against Defendant Nhat.

  Accordingly, the Court considers Plaintiffs’ request for injunctive relief, statutory

  damages and attorneys’ fees and costs.

  IV.   Remedies

        Although Defendant Nhat’s default establishes his liability to Plaintiffs, it

  does not establish the amount of damages or other relief to which Plaintiffs are

  entitled. TeleVideo Sys., Inc., 826 F.2d at 917-18. Plaintiffs must provide

  evidence to support their requested relief and the relief “must not differ in kind

  from, or exceed in amount, what is demanded in the pleadings.” Fed. R. Civ. P.

  54(c). Here, Plaintiffs seek (1) injunctive relief in the form of an order (i)

  prohibiting Defendant Nhat from infringing on Plaintiffs’ copyrighted Works and


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 (ii) requiring Defendant Nhat’s domain registar Namesilo and provider CloudFlare,

 neither of which is a party to this case, to stop access to Defendant Nhat’s domain;

 (2) a total in statutory damages of $150,000, $30,000 for each copyrighted Work;

 (3) $12,226.14 for attorneys’ fees; and (4) $2,639.08 in costs. ECF No. 37 at 23,

 25-26, 32. The Court addresses each of Plaintiffs’ requests in turn below.

       A.     Injunctive Relief

       The Copyright Act authorizes a court to “grant temporary and final

 injunctions on such terms as it may deem reasonable to prevent or retain

 infringement of a copyright.” 17 U.S.C. § 502(a). To be entitled to a permanent

 injunction, Plaintiffs must demonstrate that: (1) they have suffered an irreparable

 injury; (2) remedies at law, e.g., monetary damages, are inadequate to compensate

 for the injury; (3) “considering the balance of hardships between the plaintiff and

 defendant, a remedy in equity is warranted”; and (4) “the public interest would not

 be disserved by a permanent injunction” (collectively, “eBay factors”). eBay Inc.

 v. MercExchange, LLC, 547 U.S. 388, 391 (2006); c.f. Cook Prods., LLC v.

 Stewart, Civ. No. 17-00034 ACK-RLP, 2017 WL 4797513, at *3 (D. Haw. Oct.

 24, 2017) (citing Flexible Lifeline Sys., Inc. v. Precision Lift, Inc., 654 F.3d 989,

 996 (9th Cir. 2011)) (“[I]rreparable harm is not presumed even where infringement

 has been found.”); see also Hardy Life, LLC v. Nervous Tattoo, Inc., No. CV 08-

 3524 PA (CTx), 2008 WL 11338698, at *3 (C.D. Cal. Aug. 4, 2008) (noting that


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 “eBay rejected a presumption of irreparable harm when assessing the issuance of a

 permanent injunction”).

       This district court and other courts in this circuit have issued permanent

 injunctions in these types of cases involving copyright infringement through the

 BitTorrent protocol. See Cook Prods., LLC. v. Stewart, Civ. No. 17-00034 ACK-

 RLP, 2017 WL 4797513, at *3 (D. Haw. Oct. 24, 2017) (citing Malibu Media, LLC

 v. Sianturi, Case No. 1:16-cv-01059 AWI-SKO, 2017 WL 3328082, at *6 (E.D.

 Cal. 2017)); LHF Prod., Inc. v. Does 1-19, Case No. C16-1175RSM, 2017 WL

 615197, at *3 (W.D. Wash. Feb. 15, 2017); Dallas Buyers Club, LLC v. Bui, CASE

 No. C14-1926RAJ, 2016 WL 1242089, at *3 (W.D. Wash. Mar. 30, 2016); Elf-

 Man, LLC v. C.G. Chinque Albright, No. 13-CV-0115-TOR, 2014 WL 5543845, at

 *7 (E.D. Wash. Oct. 31, 2014)); see also ME2 Prods., Inc. v. Pumaras, CIVIL NO.

 17-00078 SOM/RLP, 2017 WL 4707015, at *7 (D. Haw. Oct. 19, 2017). As in the

 foregoing cases, this Court finds that Plaintiffs have sufficiently demonstrated that

 a permanent injunction as to Defendant Nhat is appropriate in this case.

       First, the Court finds that Plaintiffs have sufficiently established irreparable

 harm and that adequate remedies at law are not available to Plaintiffs. Defendant

 Nhat can easily continue to infringe and distribute the copyrighted works to

 numerous other users by the use of the piracy applications on his website. See




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 ECF No. 37 at 27. Thus, should Defendant Nhat’s piracy applications remain on

 his website, Plaintiff will likely be without legal recourse as to their copyrights.

       Also, Plaintiffs have shown that there is a high likelihood of continuing

 violations of their copyrights if an injunction is not entered. According to

 Plaintiffs, Defendant Nhat continues to distribute the software applications, even

 after Defendant Nhat was notified of the lawsuit. ECF No. 37-2 at ¶¶ 16-18.

 Accordingly, without an injunction, Defendant Nhat will likely be the source for

 others to repeatedly download the Works.

       Furthermore, Defendant Nhat has also refused to participate in this action.

 Accordingly, the Court has no reassurance that Defendant Nhat will stop making

 software applications available to the public through his website infringing on

 Plaintiffs’ copyrighted Works. See Stewart, 2017 WL 4797513, at *3 (citing

 Hearst Holdings, Inc. v. Kim, Case No. CV 07-4642 GAF (JWJx), 2008 WL

 11336137, at *7 (C.D. Cal. Aug. 17, 2008) (holding that the defendants’ “failure to

 respond in any way to this action does not reassure the Court that [they] have

 stopped infringing [the plaintiffs’] copyrights, which is yet another reason why

 granting a permanent injunction to enjoin them from further infringement is

 appropriate”); Virgin Records Am., Inc. v. Johnson, 441 F. Supp. 2d 963, 966

 (N.D. Ind. 2006) (“Defendant’s failure to respond to the complaint likely suggests

 Defendant does not take seriously the illegality of the infringing activity.”)).


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 Accordingly, the Court finds that Plaintiffs have established that they have and will

 likely continue to suffer irreparable harm without an injunction, and that remedies

 at law would be inadequate in this case.

       Second, as to the balance of hardships, Defendant Nhat suffers no injury due

 to an injunction “other than refraining from his infringing conduct, while Plaintiff

 would have to trace numerous IP addresses as distribution and infringement

 continues.” Stewart, 2017 WL 4797513, at *3. Considering the hardships between

 Plaintiffs and Defendant Nhat, the Court finds that a remedy in equity is warranted.

 See Malibu Media, LLC v. Redacted, Civil Action No. DKC 15-0750, 2016 WL

 3668034 at *5 (D. Md. July 11, 2016) (finding that considering the balance of

 hardships between the plaintiff and defendant, a remedy in equity was warranted

 because the defendant suffered no injury due to an injunction other than what

 would “be a result of [the defendant] ceasing the allegedly infringing conduct”);

 c.f. Medias & Co., Inc. v. Ty, Inc., 106 F. Supp. 2d 1132, 1140 (D. Colo. 2000)

 (holding that the balance of hardships weighed in favor of the plaintiff because

 “any injury to [the defendant’s] ceasing the alleged infringing conduct”).

       Finally, there is no dispute in this circuit that the prevention of copyright

 infringement serves the public interest. See, e.g., Metro-Goldwyn-Mayer Studios,

 Inc. v. Grokster, Ltd., 518 F. Supp. 2d 1197, 1222 (C.D. Cal. 2007) (citation

 omitted) (“The public interest in receiving copyrighted content for free is


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 outweighed by the need to incentivize the creation of original works.”); see also

 UMG Recordings, Inc. v. Blake, No. 5:06-CV-00120-BR, 2007 WL 1853956, at *3

 (E.D.N.C. June 26, 2007) (“[T]here is a substantial public interest in preserving a

 copyright holder’s exclusive rights and no public interest will be disserved by

 enjoining Defendant from continuing this activity.”).

       Based on the foregoing, the Court finds that Plaintiffs have made a sufficient

 showing of the four eBay factors to entitle them to a permanent injunction in this

 case. Notwithstanding this Court’s finding that a permanent injunction is

 appropriate, the Court will modify the injunction sought by the Plaintiffs. As

 referenced above, Plaintiffs seeks a permanent injunction: (1) barring Defendant

 Nhat from inducing and contributorily infringing on Plaintiffs’ Works and (2)

 ordering non-parties Namesilo and CloudFlare to “cease facilitating access to

 Defendant’s [Nhat] domain and any or all domain names and websites through

 which Defendants engaged in the distribution and promotion of the Show Box

 app.” ECF No. 37 at 26. The Court finds that the request for Namesilo and

 CloudFlare to stop “facilitating access” to Defendant Nhat’s domain and websites

 that “engaged in the distribution and promotion of the Show Box app” is overly

 broad. Id. See Quiksilver, Inc. v. Kymsta Corp., 360 Fed. Appx. 886, 889 (9th Cir.

 2009) (“Although the district court has ‘considerable discretion in fashioning the

 terms of an injunction,’ an injunction must be ‘tailored to eliminate only the


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 specific harm alleged.”’) (quoting E. & J. Gallo Winery v. Gallo Cattle Co., 967

 F.2d 1280, 1297 (9th Cir. 1992)).

       “BitTorrent has legal uses, and [Plaintiffs are] not the copyright holder with

 respect to every other movie.” ME2 Prods., Inc., 2017 WL 4707015, at *8

 (declining to order a broad injunction requiring the defendant to cease all use of

 BitTorrent); Stewart, 2017 WL 4797513, at *4 (citing ME2 Prods., Inc.).

 Accordingly, the Court recommends that the district court grant an injunction that

 is tailored to the specific facts of this case, which this Court finds is more

 consistent with the Copyright Act. See 17 U.S.C. § 502(a) (providing that a court

 may issue a final injunction “on such terms as it may deem reasonable to prevent

 or retrain infringement of a copyright”); Craigslist, Inc. v. Naturemarket, Inc., 694

 F. Supp.2d 1039, 1062 (N.D. Cal. 2010) (“Generally, an injunction must be

 narrowly tailored to remedy only the specific harms shown by a plaintiff, rather

 than to enjoin all possible breaches of the law.”). Additionally, a court may issue

 an injunction against a non-party only where the non-party acts in active concert or

 participation with an enjoined party. Fed. R. Civ. P. 65(d)(2) (a preliminary

 injunction only binds those who receive actual notice of it by personal service or

 are parties, their officers, agents, servants, employees, and attorneys, and persons

 in active concert); See Zepeda v. INS, 753 F.2d 719, 727 (9th Cir. 1984) (“A federal

 court may issue an injunction if it has personal jurisdiction over the parties and


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 subject matter jurisdiction over the claims; it may not attempt to determine the

 rights of persons not before the court.”). Even taking the factual allegations in the

 Complaint as admitted, Plaintiffs do not allege that Namesilo or CloudFlare are

 working in active concert or participation with Defendant Nhat. Rather, Plaintiffs

 allege that Defendants “use many United States based sources for their activities

 such as . . . the domain registrar company Namesilo, LLC, [and] the name server

 Cloudflare, Inc.[.]” ECF No. 1 at 5 ¶ 13, and that Defendant Nhat “registered the

 domain apkmirrordownload.com on June 20, 2016 through the domain registrar

 Namesilo, LLC.” Id. at 31 ¶ 122.

       The Court RECOMMENDS that the district court GRANT the preliminary

 injunction, but tailor the injunction to enjoin Defendant Nhat from inducing and

 contributorily infringing on Plaintiffs’ Works and DENY the injunctive relief

 request ordering non-parties Namesilo and CloudFlare to stop facilitating access to

 Defendant Nhat’s domain and any or all domain names and websites through

 which Defendant Nhat distributed and promoted the Show Box application.

       B.     Statutory Damages

       Under the Copyright Act, a plaintiff may elect to seek actual damages

 attributable to the infringement or statutory damages of “not less than $750 or

 more than $30,000.” 17 U.S.C. § 504(b), (c). Where the infringement was

 “willful,” however, the court may award up to $150,000 in statutory damages. Id.


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 § 504(c)(2). District courts have “wide discretion in determining the amount of

 statutory damages to be awarded, constrained only by the specified maxima and

 minima.” Harris v. Emus Records Corp., 734 F.2d 1329, 1335 (9th Cir. 1984)

 (citation omitted).

       Statutory damages “serve both compensatory and punitive purposes” so as

 “to sanction and vindicate the statutory policy of discouraging infringement.” Los

 Angeles News Serv. v. Reuters Int’l, Ltd., 149 F.3d 987, 996 (9th Cir. 1998)

 (quotation marks and citation omitted). This Court is thus guided by “what is just

 in the particular case, considering the nature of the copyright, the circumstance of

 the infringement and the like.” Id. (quotation marks and citation omitted).

       Plaintiffs argue that they are entitled to $150,000.00 in statutory damages

 because Defendant Nhat’s conduct was willful. “Infringement is considered

 willful when . . . (1) the defendant knew that those acts infringed plaintiffs’

 copyrights; or, (2) the defendant should have known that those acts infringed

 plaintiffs’ copyright; or, (3) the defendant engaged in conduct that was reckless or

 demonstrated a reckless disregard for plaintiffs’ copyrights.” Erickson

 Productions, Inc. v. Kast, 921 F.3d 822, 833 (9th Cir. 2019) (emphasis in the

 original).

       In support of Plaintiffs’ contention that Defendant Nhat conduct was willful,

 Plaintiffs cite the cases of Columbia Pictures, et. al. v. Justin Bunnell et. al., 2:06-


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 cv-01093-FMC-JCx, Doc. #409 (C.D. Cal. May 5, 2008) and Lions Gate Films

 Inc. v. Does, No 2:14-cv-6033-MMM-AGRx, 2014 WL 3895240 (C.D. Cal. Aug.

 8, 2014) 2 to show that courts in the Ninth Circuit have awarded damages of

 $30,000 or more for similar cases. See ECF No. 37-8, 37-9. While it is true that in

 both Columbia Pictures and Lions Gate File Inc. the court awarded damages of

 $30,000 or more, those cases fail to provide any authority for this Court to find

 Defendant Nhat’s conduct was willful. In this case, Defendant Nhat is a resident

 of Vietnam. It is unclear what knowledge Defendant Nhat had of copyright laws

 and infringement when he began using the software applications on his website.

 However, as of March 12, 2019, Defendant Nhat should have been aware of his

 copyright infringement when Plaintiffs sent a demand letter by mail and email

 informing Defendant Nhat of his copyright infringement and the possibility of a

 lawsuit. See ECF No. 37-10. Defendant Nhat did not respond to this

 communication and continued distributing Show Box and Popcorn Time. ECF No.

 1 at 32 ¶ 126, 37-2 at ¶ 2-3. Accordingly, the Court finds that Defendant Nhat’s

 conduct was willful. See Erickson Prod., Inc., 921 F.2d at 833 (conduct was

 willful when defendants failed to comply with plaintiff’s demand letters).




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  The Court notes that Exhibit 7 and the Lions’ Gate case cited on ECF No. 37 at
 25 are not the same cases.
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       For willful conduct, “the court may increase the statutory damage award to

 $150,000 per work infringed.” Id. Plaintiffs are requesting $30,000 for each

 copyrighted work, which comes to a total of $150,000 for all five Works. The

 Court finds this amount to be reasonable in this case. This amount is above the

 statutory minimum and takes into account (i) the minimal profit from ads on

 Defendant Nhat’s website, (ii) that Defendant Nhat’s distribution of the software

 application which facilitates the downloading of Plaintiff’s copyrighted Works and

 (iii) Defendant Nhat’s continued promotion and distribution of the software

 application after being served with the Complaint. In contrast to the many cases in

 this district which awarded the statutory minimum for download of one movie for

 view, in this case, Defendant Nhat is the supplier of the means to download the

 copyrighted Works. Therefore, this Court recommends that the district court

 award more than the statutory minimum. See Harris, 734 F.2d at 1335 (Court is

 allowed “wide discretion in determining the amount of statutory damages to be

 awarded, constrained only by the specified maxima and mimima.”). Accordingly,

 the Court recommends that the district court award Plaintiffs statutory damages in

 the amount of $150,000.

             C.     Attorneys’ Fees

       In relevant part, the Copyright Act provides that a court “may” award a

 reasonable attorneys’ fee to the prevailing party. 17 U.S.C. § 505. Section 505


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 “confers broad discretion on district court” but “in deciding whether to fee-shift,

 they must take into account a range of considerations beyond the reasonableness of

 the litigating positions.” Kirtsaeng v. John Wiley & Sons, Inc., 136 S. Ct. 1979,

 1988 (2016). Courts are encouraged to examine “several nonexclusive factors,”

 including “the degree of success obtained; frivolousness, motivation, objective

 unreasonableness (both in factual and legal arguments in the case); and the need in

 particular circumstances to advance considerations of compensation and

 deterrence.” Columbia Pictures Television, Inc. v. Krypton Broad. of Birmingham,

 Inc., 259 F.3d 1186, 1197 (9th Cir. 2001) (citation omitted); see also Kirtsaeng,

 136 S. Ct. at 1985. The Ninth Circuit has held that “[t]he most important factor in

 determining whether to award fees under the Copyright Act, is whether an award

 will further the purposes of the Act.” Mattel, Inc. v. MGA Entm’t, Inc., 705 F.3d

 1108, 1111 (9th Cir. 2013).

       The Court finds that an award of attorneys’ fees is appropriate in this case.

 Plaintiffs’ claims against Defendant Nhat are not frivolous, and Plaintiffs have

 succeeded in obtaining default judgment against Defendant Nhat for injunctive

 relief and statutory damages.

       “When calculating the amount of attorneys’ fees to be awarded in litigation,

 the district court applies the lodestar method, multiplying the number of hours

 expended by a reasonable hourly rate.” Ryan v. Editions Ltd. W., Inc., 786 F.3d


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 754, 763 (9th Cir. 2015) (citing Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)).

 The court may adjust the lodestar calculation based on an evaluation of the factors

 articulated in Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 70 (9th Cir. 1975),

 that are not already subsumed into the lodestar. See Leff v. Bertozzi Felice Di

 Giovanni Rovai & C. Srl, CIVIL No. 15-00176 HG-RLP, 2015 WL 9918660, at

 *8-9 (D. Haw. Dec. 30, 2015), adopted in 2016 WL 335850 (D. Haw. Jan. 26,

 2016) (citing Fischer v. SJB-P.D., Inc., 214 F.3d 1115, 1119 (9th Cir. 2000)). The

 district court may also reduce the amount of requested fees to reflect a party’s

 limited degree of success, to account for block billing, or to deduct hours deemed

 excessive as long as it provides an adequate explanation of its fee calculation.

 Ryan, 786 F.3d at 763.

              1.     Reasonable Hourly Rate

       “The prevailing market rate in the community is indicative of a reasonable

 hourly rate.” Jordan v. Multnomah Cty., 815 F.2d 1258, 1262-63 (9th Cir. 1987).

 The requesting party “has the burden to produce satisfactory evidence, in addition

 to the affidavits of its counsel, that the requested rates are in line with those

 prevailing in the community for similar services of lawyers of reasonably

 comparable skill and reputation.” Id. Here, Plaintiffs request an hourly rate of

 $250 for their counsel, Mr. Culpepper. See ECF No. 37-2 at 16.




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       The Court finds that Plaintiffs’ requested hourly rate of $250 3 for Mr.

 Culpepper is manifestly reasonable and consistent with the hourly rates recently

 awarded to Mr. Culpepper in similar cases. See ME2 Prod., Inc. v. Pumaras, 2017

 WL 4707015, at *7 (finding $250 including taxes to be reasonable amount for Mr.

 Culpepper); Szerlip, 2017 WL 4883220, at *5 (awarding Mr. Culpepper an hourly

 rate of $250); Stewart, 2017 WL 4797513, at *6. Accordingly, the Court

 recommends that the district court award Mr. Culpepper an hourly rate of $250,

 including GET. See Szerlip, 2017 WL 4883220, at *5 (awarding $250 hourly rate

 including GET); ME2 Prods., Inc. 2017 WL 4707015, at *7 (same, holding that

 “[t]he nature of the work causes this court to treat $250 as including applicable

 taxes”).

              2.    Reasonable Hours Expended

       Plaintiffs seek to recover a total of 46.83 hours expended by Mr. Culpepper

 in this case. See ECF No. 37-2 at 16. The fee applicant bears the burden of

 documenting the hours expended and must submit evidence in support of the hours

 worked. Hensley, 461 U.S. at 437; Gates v. Deukmejian, 987 F.2d 1392, 1405 (9th

 Cir. 1992). The prevailing party bears the burden of proving that the fees

 requested are associated with the relief requested and are reasonably necessary to



 3
   The Court recommends that the hourly rate of $250 be inclusive of any GET
 taxes.
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 achieve the results obtained. See Tirona v. State Farm Mut. Auto. Ins. Co., 821 F.

 Supp. 632, 636 (D. Haw. 1993) (citations omitted).

       Courts, however, have their own “independent duty to review the submitted

 itemized log of hours to determine the reasonableness of the hours requested in

 each case.” Irwin v. Astrue, No. 3:10-CV-545-HZ, 2012 WL 707090, at *1 (D. Or.

 Mar. 5, 2012) (citing Sorenson v. Mink, 239 F.3d 1140, 1145 (9th Cir. 2001)). The

 courts must guard against awarding fees and costs which are excessive, and must

 determine which fees were self-imposed and avoidable. See Tirona, 821 F. Supp.

 at 637 (citation omitted). To this end, courts are empowered to use their discretion

 to “‘trim fat’ from, or otherwise reduce, the number of hours claimed to have been

 spent on the case.” Soler v. G & U, Inc., 801 F. Supp. 1056, 1060 (S.D.N.Y. 1992)

 (citation omitted). Accordingly, courts must deny compensation for time expended

 on work deemed excessive, redundant, or otherwise unnecessary. See Gates, 987

 F.2d at 1397 (citing Hensley, 461 U.S. at 433-34). Based on a review of Mr.

 Culpepper’s time entries, the Court recommends that the district court reduce

 Plaintiffs’ requested hours as set forth below.

                    a.     Clerical Tasks

       The Court finds that Mr. Culpepper’s time entries include time expended on

 clerical tasks, which are not recoverable because they “are part of an attorney’s

 overhead and are reflected in the charged hourly rate.” Au v. Funding Grp., 933 F.


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 Supp. 2d 1264, 1275-76 (D. Haw. 2013). The Court finds the following four time

 entries are for clerical tasks: (1) 4/26/19 confirming state dept. procedure on

 Vietnam mailing of service; filing affidavit of foreign mailing and filing; (2)

 5/27/19 creating packages for clerk sending, Fedex labels (issue re recipient

 delivery signature requirement); (3) 5/28/19 tel conf with Fedex; creating labels for

 Defendants; Sending packages to court; and (4) 6/8/19 downloading cert of service

 Nghi Nhat; tel call with FedEx. See ECF 37-2 at 14-15. Mr. Culpepper spent a

 total of 3 hours on these tasks. The Court deems these tasks clerical in nature. As

 such, the Court recommends that 3 hours be subtracted from Mr. Culpepper’s total

 hours.

                b.    Block Billing

          “The term ‘block billing’ refers to the time-keeping method by which each

 lawyer and legal assistant enters the total daily time spent working on a case, rather

 than itemizing the time expended on specific tasks.” JJCO, Inc. v. Isuzu Motors

 America, Inc., Civ. No. 08-00419 SOM-LEK, 2010 WL 3001924, at *12 (D. Haw.

 Jul. 30, 2010) (citation omitted). This practice violates Local Rule 54.2(f) which

 requires “a description of the work performed by each timekeeper, broken down by

 hours expended on each task.” LR 54.2(f). The Court finds the following entries

 constitute block billing: (1) 3/1-3/4/2019; (2) 3/5/2019; (3) 3/12/2019; (4)

 3/21/2019; (5) 5/6/2019; (6) 5/7/2019; (6) 5/10/2019; and (7) 5/14/2019. These


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 entries total 8.25 hours. The Court recommends that these block billing entries be

 reduced by one-third. See LR 54.2(f)(3). (“Block billing is not permitted, and

 block billed entries may be partially or completely excluded by the court.”)

 Accordingly, the Court recommends 2.75 hours be subtracted from Mr.

 Culpepper’s total hours.

              c.    Insufficient Descriptions

       “The party seeking an award of fees must describe adequately the services

 rendered, so the reasonableness of the requested fees can be evaluated.” L.R.

 54.2(f). Without proper documentation, this Court cannot evaluate the

 reasonableness of the requested fees. The following entries do not contain enough

 information for this Court to evaluate the reasonableness: (1) 4/10/2019 Studying

 CloudFlare Response with Defendant ID info and his other websites; (2) 4/29/2019

 Preparing translation of Complaint and docs for foreign mailing; (3) 4/30/2019

 Investigation of owner of different site to confirm relationship; (4) 5/14/2019

 Email correspondence with Vietnam counsel; and (5) 5/27/2019 Email exchange

 with Vietnam Counsel and Nghi Phan Nhat. These entries lack information for the

 Court to determine reasonableness, for example, the two email entries fail to

 provide what the emails were about and/or the purpose of the emails. These entries

 that contain insufficient information total 4.08 hours. As such, the Court

 recommends subtracting 4.08 hours from Mr. Culpepper’s requested hours.


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              d.     Excessive Time

       “Time spent on work that is ‘excessive, redundant, or otherwise

 unnecessary’ shall not be compensated.” Szerlip, 2017 WL 4883220, at *6 (other

 citation omitted) (citing Gates, 987 F.2d at 1397). Plaintiffs seek to recover 4.5

 hours for preparing and finalizing the complaint in this matter, as well as 11 hours

 in preparing the instant Motion. The Court finds that these amounts to be

 excessive. The Court notes that Mr. Culpepper has filed many of these type of

 copyright infringement and contributory copyright infringement cases in this

 district. The law cited and claims in these cases are very similar, therefore, 4.5

 hours for preparing and finalizing the complaint is excessive. Thus, the Court

 reduces the amount by 2.5 hours, recommending 2 hours for the preparing of the

 Complaint. Further, Plaintiffs seek 11 hours for preparation of the instant Motion.

 Again, the Court notes that Mr. Culpepper has filed similar motions for default

 judgment in other cases in this district. 4 The Court does acknowledge that the

 instant Motion is somewhat different than previous motions for default judgment

 filed by Mr. Culpepper because Defendant Nhat is in a foreign jurisdiction. The

 Court realizes that more time was needed in the instant motion regarding the issue



 4
    See (1) ME2 Prods., Inc. v. Pumaras, CV 17-00078 SOM-RLP, ECF No. 32
 (July 12, 2017); (2) Cook Prods., Inc. v. Stewart, CV 17-00034 ACK-RLP, ECF
 No. 26 (July 7, 2017); and (3) Cook Prods., Inc. v. Szerlip, CV 16-00637 HG-
 KSC., ECF No. 48 (June 8, 2017).
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 of jurisdiction, therefore, the Court reduces the amount of the 9/2/2019 & 9/3/2019

 entry by 6 hours. Accordingly, the Court reduces Mr. Culpepper’s requested hours

 by a total of 8.5 hours for excessiveness.

                e.      Total lodestar calculation

          In sum, the Court finds that Plaintiffs have established the reasonableness of

 an award of attorneys’ fees as follows:

           Attorney                Hours             Hourly Rate          Lodestar

     Kerry Culpepper, Esq.     28.5 5          $250                   $7,125.00



          Accordingly, the Court recommends that the district court award Plaintiffs

 $7,125.00 for attorneys’ fees including GET.

          D.    Costs

          Pursuant to Section 505, a prevailing party may recover its “full costs.”

 Plaintiffs seek an award of $2,639.08. See ECF No. 37-2 at 13. The Court finds

 these amounts to be reasonable. Accordingly, the Court RECOMMENDS that the

 district court GRANT Plaintiffs’ request for $2,639.08.

                                        CONCLUSION



 5
   The 28.5 hours reflect the recommended deductions of 18.33 hours from
 Plaintiffs’ total requested 46.83 hours as follows: (1) 3 hours for clerical tasks; (2)
 4.08 hours for insufficient description; (3) 2.75 hours for block billing; and (4) 8.5
 hours for excessiveness.
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         The Court FINDS AND RECOMMENDS that the district court GRANT IN

 PART AND DENY IN PART Plaintiffs’ Motion for Default Judgment Against

 Defendant Nghi Phan Nhat as follows:

              (1)   Enter default judgment in favor of Plaintiffs against Defendant

 Nhat;

              (2)   Permanently enjoin Defendant Nhat from inducing and

 contributorily infringing on Plaintiffs’ Works;

              (3)   Award statutory damages in the total amount of $150,000,

 which is $30,000 for each Work;

              (4)   Award Plaintiffs a total of $7,125.00 for attorneys’ fees; and

              (5)   Award Plaintiffs a total of $2,639.08 for costs.

         IT IS SO FOUND AND RECOMMENDED.

         DATED: Honolulu, Hawaii, June 15, 2020.




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